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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                    COURT FILE NO. CV – 07-04264 JMR-FLN


Rachel Besch,

               Plaintiff,
v.
                                                            ORDER
Diversified Adjustment Service, Inc.,
and William H. Bright,

                 Defendants.


                                        ORDER

         Based on the above Stipulation of Dismissal filed herein, this Court hereby

orders that Plaintiff’s Complaint against Defendants, shall be, and herewith is,

dismissed with prejudice without costs, or disbursements, or attorneys’ fees to any

party.

LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: March 17, 2008                   s/James M. Rosenbaum
                                        JUDGE JAMES M. ROSENABUAM
                                        UNITED STATES DISTRICT COURT
